                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:05CR294

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )                  ORDER
               vs.                                )
                                                  )
BOBBY LARUE THOMPSON, SR.,                 (6)    )
                                                  )


       THIS MATTER is before the court on its own motion to continue the trial of the above
named Defendant from the April 23, 2007 term of court. The undersigned issued an order on
April 10, 2007 granting a continuance to Defendants Tito Thompson and Bobby Thompson.

       The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

         IT IS THEREFORE ORDERED that Bobby Larue Thompson, Sr. is also scheduled
for trial during the June 18, 2007 term at 10:00 a.m. in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendants, counsel for Defendants,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.

                                                      Signed: April 12, 2007




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